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April 20, 2020
VIA ECF

Clerk of the Court

United States District Court

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

Re: Zelma v. SunPower, et al.,
Docket No. 2:19-cv-20542

Dear Sir/Madam:

This firm represents defendant SunPower Corporation (“SunPower”) in the above-
referenced litigation. Plaintiff filed a motion for reconsideration returnable May 4,
2020 which has not been previously extended or adjourned. Pursuant to Local Civil Rule
7.1 (d)(5), the SunPower hereby requests the automatic extension of time in which it can file
papers in opposition. Accordingly, the new return date for the aforementioned motion should
be set for May 18, 2020, requiring all defendants to file their opposition papers on or before

 

 

May 4, 2020.
Very truly yours,
’ _ » ORDERED
s/Derrick R. Freijomil s/James B. Clark
James B. Clark, U.S.M.J.

Derrick R. Freijomil a

Date: —| tZ {| 2020

ce: John D. Coyle, Esq. (via ECF)
Richard M. Zelma (via ECF)

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